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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:16-cv-62902-WJZ

  WILLIAM MCLEOD & RONALD
  MIMS, Individually and on Behalf of
  All Others Similarly Situated,

         Plaintiff,

  v.
                                                              JURY TRIAL DEMANDED
  MONAKER GROUP, INC., formally known as
  NEXT 1 INTERACTIVE, INC., WILLIAM KERBY,
  DON MONACO, and D’ARELLI PRUZANSKY, P.A.


         Defendants.
                                                 /

               AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS
                      OF THE FEDERAL SECURITIES LAWS1

         COMES NOW, Plaintiffs, WILLIAM MCLEOD & RONALD MIMS (“Plaintiffs”),

  through their undersigned attorneys, allege upon personal knowledge as to themselves and their

  own acts, and upon information and belief as to all other matters, based on the investigation

  conducted by and through Plaintiffs’ attorneys, which included, among other things, a review of

  the public documents and announcements issued by MONAKER GROUP, INC. f/k/a NEXT 1

  INTERACTIVE, INC (“Monaker”), filings with the Securities and Exchange Commission

  (“SEC”), press releases published by and regarding Monaker, public sworn testimony on the part

  of Monaker’s officers and directors, and other information readily obtainable on the Internet.




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   The Amended Complaint is submitted in connection with the Order entered at D.E. 53. Plaintiff
  Ronald Mims is a new Plaintiff to this action joining Plaintiff McLeod.
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                                   NATURE OF THE ACTION

         1.      This is a federal class action brought individually and on behalf of all other persons

  and entities who purchased or otherwise acquired Monaker stock from February 20, 2013 through

  June 23, 2016 (the “Class Period”), seeking to recover damages pursuant to § 10(b) and § 20(a) of

  the Securities Exchange Act of 1934 (the “Exchange Act”), and Rule 10b-5 promulgated

  thereunder (the “Class”), and damages caused by D’Arelli Pruzansky, PA, Monaker’s independent

  auditor, in audits that were publicly filed with Monaker’s SEC filings.

         2.      This is a case about Monaker’s publicly filed and independently audited financial

  statements being exposed as materially misleading to Monaker’s investors during the Class Period.

  The Class did not learn that it had been materially misled through Monaker’s financial statements,

  SEC filings, Sarbanes-Oxley Certifications, and press releases until June 23, 2016, when Monaker

  filed a 10-K notifying the public that it would be forced to restate its financials from the Class

  Period, and that Monaker had paid up to $11.1 million of Monaker funds without any consideration

  in return to support the operations of an entirely separate public company that was previously

  controlled by Defendants William Kerby and Don Monaco (“the D&O Defendants”). The name

  of the separate company that the D&O Defendants controlled and financially supported using

  Monaker funds without consideration is RealBiz Media Group, Inc. (“RealBiz”). It was not until

  the D&O Defendants were disaffiliated with RealBiz and replaced as board members when the

  D&O Defendants admitted to the Monaker investors that Monaker funds were used throughout the

  Class Period to support RealBiz’s operations, and that the transfer of funds from Monaker to

  RealBiz was not disclosed in any SEC filings, audited financial statement, or other financial

  disclosure.




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         3.      Once Monaker disclosed on June 23, 2016 that its previous financial statements

  would need to be restated as a result of the unreported and historic financial support provided by

  Monaker to RealBiz, Monaker’s share price drastically declined from $2.90 per share on the date

  preceding the disclosure to $2.60 per share on the date following the disclosure, a nearly 11% drop.

  Within two weeks of the disclosure, the stock was trading at as little as $1.71 per share, an

  approximate 41% drop. The disclosure also caused an uptick in the trading volume of the Monaker

  stock as part of the selloff. Specifically, on July 12 and July 15, 2016, tens of thousands of Monaker

  shares were traded—a remarkable change in volume in comparison to the mere few thousand

  shares of Monaker that were normally traded on a daily basis. During the eighteen months since

  the disclosure, Monaker’s stock has floundered with slight bumps in recovery after Monaker

  announces promising news, although the stock has primarily traded significantly below the pre-

  disclosure share price and currently trades at about 30% less than the share price prior to the

  disclosure.

         4.      The Class members invested with Monaker without knowing Monaker was secretly

  transferring funds in a manner that led to a material misstatement on its financial statements,

  requiring a restatement of all prior financial statements. By secretly supporting RealBiz’s financial

  stability, Monaker was depriving its investors of the cash flow necessary for Monaker to succeed

  and grow into a profitable business. Monaker’s losses during the Class Period total around $20

  million. Monaker’s market capitalization since the disclosure has dropped by approximately $12

  million.

         5.      During the Class Period and in connection with Monaker’s fundraising efforts to

  solicit investors, the Defendants made untrue statements of material fact and omitted other facts




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  necessary to make the statements not misleading, and failed to disclose material facts concerning

  Monaker’s financial condition.

                                    JURISDICTION AND VENUE

         6.      The claims alleged herein arise under § 10(b) and § 20(a) of the Exchange Act and

  the rules and regulations of the SEC promulgated thereunder.

         7.      The Court has jurisdiction over the subject matter of this action pursuant to § 27 of

  the Exchange Act, 15 U.S.C. § § 77 and 78, § 22(a) of the Securities Act, and 28 U.S.C. § 1331.

         8.      Venue is proper in this District pursuant to § 27 of the Exchange Act, 15 U.S.C. §

  § 77 and 78, and 28 U.S.C. § 1391(b), as a substantial part of the acts events or omissions giving

  rise to the claims pleaded herein occurred in this District and Defendants named herein maintain

  their residence or principal places of business in this District.

         9.      At all times material hereto, Monaker has been headquartered at 2690 Weston

  Road, Suite 200, in Weston, Florida.

         10.     Upon information and belief, Mr. Kerby is a resident of Broward County, Florida.

         11.     Upon information and belief, Mr. Monaco is a resident of the State of Minnesota.

         12.     D’Arelli Pruzansky PA’s primary place of business is located in Broward County,

  Florida.

         13.     In connection with the acts alleged in this Complaint, Defendants, directly or

  indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

  to, the United States mails, interstate telephone communications and the facilities of a United

  States Stock Exchange.




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                                              PARTIES

         14.     Plaintiff McLeod purchased shares of Monaker common stock, as set forth in the

  accompanying certification, which is incorporated by reference herein, and has been damaged

  thereby. Specifically, Plaintiff McLeod’s stock lost approximately 30% of its value from the day

  before Monaker disclosed that it was secretly funding another company’s operations and required

  a financial restatement.

         15.     Plaintiff Mims purchased shares of Monaker common stock, as set forth in the

  accompanying certification, which is incorporated by reference herein, and has been damaged

  thereby. Specifically, Plaintiff Mims’ stock lost a material portion of its value during the time

  period he invested with Monaker and has been damaged as a result of the s same. As outlined

  herein, Plaintiff Mims’ stock in Monaker is worth about 30% less today than the day before

  Monaker disclosed that it was secretly funding another company’s operations and required a

  financial restatement.

         16.     Monaker is a multi-faceted interactive media company whose key focus is around

  what Monaker believes to be the most universal, yet powerful consumer-passion categories being

  – travel, home and work. Monaker is engaged in the business of providing digital media and

  marketing services for these industries along with the opportunity to create long term relationships

  through its Home & Away Club membership programs.               Monaker generates revenue from

  commissions derived through traditional sales of its travel products.

         17.     On October 10, 2008, Monaker filed a Form S-1 with the SEC attempting to register

  its shares for an initial public offering (“IPO”). Shortly thereafter, Monaker started soliciting

  investor funds through various SEC filings, including 10-K and 10-Q filings depicting the financial




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  stability and activity within the company. Monaker currently has approximately 800 separate

  investors.

         18.     Defendant, William Kerby, has served as the chairman and Chief Executive Officer

  of Monaker since 2008 until present. Mr. Kerby signed under Section 302 and 906 Certifications

  of the Sarbanes-Oxley Act of 2002, 10-K’s on June 13, 2013, June 13, 2014, June 16, 2015, and

  June 23, 2016, as well as Form 10-Q’s on October 22, 2012, January 22, 2013, July 22, 2013,

  October 21, 2013, January 21, 2014, July 21, 2014, October 20, 2014, January 20, 2015, August

  8, 2015, October 16, 2015, January 19, 2016, July 20, 2016, and October 18, 2016. Defendant

  Kerby is a major shareholder in Monaker and had a financial incentive to fraudulently misstate the

  Monaker financial statements in order to try to increase the Monaker share price. As of the date of

  the restatement disclosure, Mr. Kerby owned 40.9% of the total voting shares for Monaker, 18.6%

  of Monaker’s common stock, and 42.5% of Monaker’s Series A Preferred Stock.

         19.     Monaker’s CFO during the Class Period, Adam Friedman, served as the Chief

  Financial Officer of Monaker from August 2010 until February 2016. Mr. Friedman signed under

  Section 302 and 906 Certifications of the Sarbanes-Oxley Act of 2002, 10-K’s on June 13, 2013,

  June 13, 2014, and June 16, 2015, as well as Form 10-Q’s on October 22, 2012, January 22, 2013,

  July 22, 2013, October 21, 2013, January 21, 2014, July 21, 2014, October 20, 2014, January 20,

  2015, August 8, 2015, October 16, 2015, and January 19, 2016.

         20.     Defendant, Don Monaco, has served on Monaker’s Board of Directors from 2011

  until present. In 2015, Mr. Monaco was named Monaker’s Chairman of the Board. Mr. Monaco

  has been instrumental in the management and financial decision making within Monaker. Mr.

  Monaker, according to Monaker’s SEC filings, was selected to serve on Monaker’s board because

  “he brings a strong business background to the Company, and adds significant strategic, business




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  and financial experience. Mr. Monaco’s business background provides him with a broad

  understanding of the issues facing (Monaker), the financial markets and the financing opportunities

  available to (Monaker).” Defendant Monaco is a major shareholder in Monaker, and had a financial

  incentive to fraudulently misstate the Monaker financial statements in order to try to increase the

  Monaker share price. As of the date of the restatement disclosure in June 2016, Mr. Monaco owned

  55.9% of the total voting shares for Monaker, 37.9% of Monaker’s common stock, and 57.5% of

  Monaker’s Series A Preferred Stock.

         21.     Defendants Monaco and Kerby were also large owners in RealBiz until their

  ownership stake in RealBiz started drastically declining leading up to the restatement disclosure

  in June 2016. As of February of 2014, Mr. Kerby and Mr. Monaco owned 13.6% and 29.1%,

  respectively, of RealBiz stock. As of May 2015, Mr. Kerby and Mr. Monaco owned 5.2% and

  21.1%, respectively, of RealBiz stock. As of February 2016, Mr. Kerby and Mr. Monaco owned

  5.03% and 18.6%, respectively, of RealBiz stock. As of February 2017, Mr. Monaco owned 11.4

  % of RealBiz stock, and Mr. Kerby owned even less (if any) RealBiz stock. With their diminishing

  ownership in RealBiz, Mr. Kerby and Mr. Monaco had a diminishing incentive to fund RealBiz’s

  operations with Monaker’s investment funds, especially as their ownership interest in Monaker

  increased, which ultimately led to the financial restatement disclosure.

         22.     Upon information and belief, Monaker is named after Mr. Monaco and Mr. Kerby.

         23.     The D&O Defendants, because of their positions with Monaker, controlled and/or

  possessed the authority to control the contents of its reports, press releases, SEC filings,

  presentations to securities analysis and through them, the investing public. By reason of their

  management positions and their ability to make public statements in the name of Monaker, the




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  D&O Defendants were and are controlling persons, and had the power and influence to cause (and

  did cause) Monaker to engage in the conduct complained of herein.

          24.     Defendant D’Arelli Pruzansky, PA (“Auditor Defendant”), is a public accounting

  firm that allowed materially misstated Monaker financial statements to go undetected. The Auditor

  Defendants served as the auditor for Monaker during the Class Period. The Auditor Defendant’s

  audit “Report(s) of Independent Registered Public Accounting Firm” showing material

  misstatements were filed as part of Monaker’s 10-K SEC filings during the Class Period, most

  notably the 10-K’s filed on June 13, 2013, June 13, 2014 and June 16, 2015. In Monaker’s 10-K

  filed on June 23, 2016, Monaker disclosed that it would be using a new auditor, LBB & Associates

  Ltd., LLP, to issue restatements with respect to Monaker’s previous financial statements that were

  audited by the Auditor Defendant.

          25.     Monaker, the D&O Defendants, and the Auditor Defendant are referred to

  collectively herein as the “Defendants.”

                                 CLASS ACTION ALLEGATIONS

          26.     Plaintiffs bring this action as a class action pursuant to Federal Rules of Civil

  Procedure 23(a) and (b)(3) on behalf of all those who purchased or otherwise acquired Monaker

  stock from February 20, 2013 through June 23, 2016. Excluded from the Class are Defendants

  herein, members of the immediate family of each of the Defendants, any person, firm, trust,

  corporation, officer, director or other individual or entity in which any Defendant has a controlling

  interest or which is related to or affiliated with any of the Defendants, and the legal representatives,

  agents, affiliates, heirs, successors-in-interest or assigns of any such excluded party.

          27.     The members of the Class are located in geographically diverse areas and are so

  numerous that joinder of all members is impracticable. It is estimated that there are approximately




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  800 members of this class and have suffered damages, since stock in Monaker is worth about 30%

  less today than the day before Monaker disclosed that it was secretly funding another company’s

  operations and required a financial restatement.

         28.     Common questions of law and fact exist as to all members of the Class and

  predominate over any questions affecting solely individual members of the Class. Among the

  questions of law and fact common to the Class are:

                 (a) Whether Defendants violated federal securities laws based upon the facts

                    alleged herein;

                 (b) Whether the SEC filings including certifications and information provided by

                    Defendants misrepresented material facts about Monaker and its financial

                    condition;

                 (c) Whether statements made by Defendants to the investing public during the

                    Class Period misrepresented material facts about the business, operations and

                    financial condition of Monaker;

                 (d) Whether the D&O Defendants caused Monaker to issue false and misleading

                    financial statements during the Class Period;

                 (e) Whether the Auditor Defendant negligently issued audit opinions that

                    materially misstated the financial condition of Monaker to the investing public;

                 (f) Whether Defendants acted knowingly or recklessly in issuing false and

                    misleading financial statements;

                 (g) Whether the prices of Monaker securities during the Class Period were

                    artificially inflated because of the Defendants’ conduct complained of herein;

                    and




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                   (h) Whether the members of the Class have sustained damages and, if so, the proper

                       measure of damages.

           29.     Plaintiffs’ claims are typical of the claims of the members of the Class as Plaintiffs

   and members of the Class sustained damages arising out of Defendants’ wrongful conduct in

   violation of federal laws as complained of herein.

           30.     Plaintiffs will fairly and adequately protect the interests of the members of the Class

   and has retained counsel competent and experienced in class and securities litigation. Plaintiffs

   have no interests antagonistic to, or in conflict with, those of the Class.

           31.     A class action is superior to alternative methods for the fair and efficient

   adjudication of this controversy since joinder of all members of this Class is impracticable.

   Furthermore, because the damages suffered by individual Class members may be relatively small,

   the expense and burden of individual litigation make it impossible for the Class members

   individually to redress the wrongs done to them. There will be no difficulty in the management of

   this action as a class action.

           32.     Plaintiffs will rely, in part, upon the presumption of reliance established by the

   fraud-on-the-market doctrine in that:

                   (a) Defendants made public misrepresentations or failed to disclose material facts

                       during the Class Period;

                   (b) The omissions and misrepresentations were material;

                   (c) Monaker securities are traded in an efficient market;

                   (d) Monaker’s shares were liquid and traded with moderate to heavy volume during

                       the Class Period;




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                  (e) Monaker traded on a public stock exchange and was covered by multiple

                     analysts;

                  (f) The misrepresentations and omissions alleged would tend to induce a

                     reasonable investor to misjudge the value of Monaker’s securities; and

                  (g) Plaintiffs and members of the Class purchased, acquired and/or sold Monaker

                     securities between the time the Defendants failed to disclose or misrepresented

                     material facts and the time the true facts were disclosed, without knowledge of

                     the omitted or misrepresented facts.

           33.    Based on the foregoing, Plaintiffs and the members of the Class are entitled to a

   presumption of reliance upon the integrity of the market.

                                    FACTUAL ALLEGATIONS

      A. Monaker secretly transfers its money to a separate company through a conflict of
         interest involving the D&O Defendants.

           34.    Monaker was initially reporting as a Nevada shell company called Maximus

   Exploration Corporation. On October 9, 2008, Maximus changed its name to Next 1 Interactive,

   Inc. (“Next 1”) via a reverse merger. The purpose of the acquisition was so Next 1 would become

   a fully reporting company with the SEC and have its stock quoted on the Over-the-Counter Bulletin

   Board. Next 1’s initial offering included 200,000,000 shares of common stock, and 100,000,000

   shares of preferred stock. Next 1 Interactive subsequently changed its name to Monaker in or about

   2014.

           35.    In 2012, the D&O Defendants worked to obtain ownership of an entirely separate

   company privately held company called Webdigs, Inc. (“Webdigs”). The D&O Defendants’ goal

   was to use a shell public company called RealBiz Media Group, Inc. (“RealBiz”) as a vehicle to

   publicly raise money for Webdigs’ operations. After acquiring Webdigs, the D&O Defendants



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   merged Webdigs assets into RealBiz and started publicly raising money through RealBiz. In 2012,

   Monaker was a majority shareholder in RealBiz. From 2012 through October 2014, Monaker’s

   ownership interest in RealBiz continued to diminish until Monaker was no longer a majority

   shareholder in RealBiz.

          36.      Likewise, the D&O Defendants’ individual ownership interest in RealBiz

   diminished greatly overtime. In 2014, Mr. Kerby and Mr. Monaco owned 13.6% and 29.1%,

   respectively, of RealBiz stock. As of May 2015, Mr. Kerby and Mr. Monaco owned 5.2% and

   21.1%, respectively, of RealBiz stock. As of February 2016, Mr. Kerby and Mr. Monaco owned

   5.03% and 18.6%, respectively, of RealBiz stock. As of February 2017, Mr. Monaco owned 11.4%

   of RealBiz stock, and Mr. Kerby owned even less (if any) RealBiz stock.

          37.    As a result of the D&O Defendants’ personal ownership interest in RealBiz

   decreasing, their personal ownership interest in Monaker greatly exceeded their ownership in

   RealBiz. As of the date of the restatement disclosure in June 2016, Mr. Kerby owned 40.9% of the

   total voting shares for Monaker, and Mr. Monaco owned 55.9% of the total voting shares for

   Monaker.

          38.    In November 2012, Monaker began consolidating the financial statements of

   RealBiz into its own financial statements because Monaker had control over both companies

   operating and financial policies. See Defendant Kerby’s affidavit2. Therefore, the D&O Defendants

   controlled both balance sheets of Monaker and RealBiz, and were in complete control of accurate

   financial reporting for Monaker. Id. Instead of using this simultaneous control to the benefit of

   transparent and accurate financial reporting, the D&O Defendants used the opportunity to secretly




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    Found within RealBiz v. Monaker, Case No. 0:16-cv-61017-FAM, filed at DE 23-1, in the United
   States District Court, Southern District of Florida, Fort Lauderdale Division.

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   use Monaker funds as a slush fund to support RealBiz when RealBiz’s operations needed extra

   cash to survive.

          39.         Importantly, despite Monaker’s ownership interest in RealBiz, the two public

   companies remained two separate companies with two different sets of investors. While Monaker

   investors were investing in a company that specialized in the travel industry, RealBiz investors

   were investing in a company that specialized in the internet-related real estate business and

   marketing of real estate properties similar to companies such as Trulia and Zillow.

          40.     The D&O Defendants ultimately allowed a conflict of interest to arise with respect

   to their roles on the boards of both Monaker and RealBiz. Specifically, at all times material hereto

   up until mid-2015, Defendant Kerby served as the CEO of both Monaker and RealBiz and Mr.

   Friedman served as the CFO of both Monaker and RealBiz. Defendant Monaco served on the

   board for both Monaker and RealBiz. This conflict of interest allowed the D&O Defendants to

   use Monaker funds as the hidden piggy bank to support RealBiz operations when RealBiz was

   short on cash. Monaker now admits in its June 2016 10-K that it allowed up to $11.1 million of

   Monaker’s funds to be transferred to RealBiz without disclosing the same to the investing public.

   Consequently, Monaker’s public filings were materially misstated, and Monaker was deprived of

   its investor funds that were supposed to be used to support and grow Monaker’s operations.

   Instead, the Class invested funds were materially and secretly used to support another company,

   RealBiz’s, operations during the Class Period.

          41.     By November 2013, Monaker had lost more than 100% of its investment in RealBiz

   and had raised over $9M in investor funds that was mostly for the benefit of RealBiz. Id. Critically,

   the Defendants never disclosed to the investing public, including the Class, that by as early as




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   November 2013, almost $9M of Monaker’s investor funds had been used to support this entirely

   separate company, RealBiz.

          42.     Monaker’s business plan and growth was continually depressed and manipulated

   as a result of the fact that Monaker was not using its investor funds to grow Monaker’s business.

   Monaker continued to lose money, ultimately totaling around $20 million, during the Class Period.

   The D&O Defendants decision to secretly drain Monaker’s financial reserves by up to $11.1

   million prohibited Monaker from using said funds to support Monaker’s research, development,

   marketing, and other operations that would be required to increase Monaker’s financials and help

   Monaker’s stock price grow.

      B. Monaker’s SEC filings failed to disclose the vast extent of Monaker funds that were
         used to support the separate company, RealBiz.

          43.     As the simultaneous CEO and CFO, for Monaker and RealBiz, Defendants Kerby

   and Friedman controlled the financial information, investor disclosures, press releases, and SEC

   filings for each company.

          44.     As clear evidence of intentional wrongdoing and scienter, the D&O Defendants

   reported to the investing public in their simultaneous role as CEO, CFO, and Board Member for

   Monaker and RealBiz that Monaker owed RealBiz sums of money up to approximately $1.3

   million. This material misrepresentation was made at a point in time when it was, in fact, Monaker

   that was owed up to $11.1 million from RealBiz. Thus, there was an approximate $12.5 million

   financial misreporting between the two companies that was orchestrated through the D&O

   Defendants, and publicly reported under Sarbanes-Oxley Certification to the Class.

          45.     In RealBiz’s 10-Q filing with the SEC for the period ended April 30, 2014,

   RealBiz's "due from Monaker" was $4,199 as of October 31, 2013, and $1,081,960 as of April 30,

   2014. Monaker now admits that it was owed millions of dollars from RealBiz at the time



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   Defendants Kerby and Friedman signed these RealBiz 10-Q filings under Sarbanes-Oxley

   Certifications. The D&O Defendants failed to alert the Class that the vast majority of their

   investment funds were being used to support an entirely separate company, RealBiz.

          46.    In RealBiz’s 10-K filed with the SEC for the fiscal year ended October 31, 2014,

   RealBiz’s “due from Monaker” was $131,086. Monaker now admits that it was owed millions of

   dollars from RealBiz at the time Defendants Kerby and Friedman signed this RealBiz 10-K filing

   under Sarbanes-Oxley Certifications. The D&O Defendants once again failed to alert the Class

   that their investment funds were being used to support an entirely separate company, RealBiz.

          47.    RealBiz’s 10-K filing with the SEC from February 13, 2015, included an

   independent audit opinion from the Auditor Defendant certifying the accuracy of the financial

   statements within the 10-K, including the $131,086 that was shown as due at the time from

   Monaker to RealBiz. The D&O Defendants failed to alert the Class that their investment funds

   were being used to support an entirely separate company, RealBiz.

          48.    In RealBiz’s 10-Q filing with the SEC for the quarterly period ended July 31, 2013,

   RealBiz's "due from Monaker" was $1,295,938 as of July 31, 2014. Monaker now admits that it

   was owed millions of dollars from RealBiz at the time Defendants Kerby and Friedman signed this

   RealBiz 10-Q filing under Sarbanes-Oxley Certifications. The D&O Defendants failed to alert the

   Class that their investment funds were being used to support an entirely separate company,

   RealBiz.

          49.    The Auditor Defendant verified that the amounts depicted in the aforementioned

   RealBiz 10-K filings were accurate by issuing a clean audit opinion for RealBiz showing Monaker

   owing RealBiz the aforementioned amounts on the RealBiz financial statements. The Auditor

   Defendant’s audits failed to show: (a) the millions of dollars owed by RealBiz to Monaker at the




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   time, or, (b) the fact that Monaker was using Class investment funds to support RealBiz’s

   operations.

          50.     The D&O Defendants did not solely issue financially misleading public

   information in their roles as CEO, CFO, and board member for RealBiz. The D&O Defendants

   further perpetuated the fraud by issuing materially misleading financial information in connection

   with their roles as CEO, CFO, and board member for Monaker.

          51.     In Monaker’s 10-Q filing with the SEC for the quarterly period ended February 28,

   2015, Monaker's "due to RealBiz" totaled $974,889. Monaker now admits that it was, in fact,

   owed up to $11.1 million from RealBiz at the point in time this 10-Q was filed. The D&O

   Defendants once again failed to alert the Class that their investment funds were being used to

   support an entirely separate company, RealBiz.

          52.     In Monaker’s 10-K filing with the SEC from June 16, 2015, Monaker’s “due to

   RealBiz” totaled $1,286,421. Monaker now admits that it was, in fact, owed up to $11.1 million

   from RealBiz at the point in time this 10-K was filed. None of Monaker’s 10-K filings during the

   Class Period showed Monaker being owed any money from RealBiz, despite Monaker’s recent

   admission that Monaker was owed millions of dollars from RealBiz during this period of time.

   The D&O Defendants once again failed to alert the Class that their investment funds were being

   used to support an entirely separate company, RealBiz.

          53.     In Monaker’s 10-Q filing with the SEC from January 19, 2016, Monaker’s “due to

   RealBiz” totaled $1,286,421. Monaker now admits that it was, in fact, owed up to $11.1 million

   from RealBiz at the point in time this 10-Q was filed. The D&O Defendants once again failed to

   alert the Class that their investment funds were being used to support an entirely separate company,

   RealBiz.




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          54.    The Auditor Defendant verified that the amounts depicted in the aforementioned

   Monaker 10-K filings were accurate by issuing clean audits opinion for Monaker showing

   Monaker owing RealBiz the aforementioned amounts on the Monaker financial statements. The

   Auditor Defendant’s Monaker audits failed to show: (a) the millions of dollars owed by RealBiz

   to Monaker at the time, or, (b) the fact that Monaker was using Class investment funds to support

   RealBiz’s operations.

          55.    In each 10-Q and 10-K SEC filing above, Defendants Kerby and Friedman signed

   off on the accuracy of the financial results under Sarbanes-Oxley Certifications. The Section 302

   Certifications, which accompanied the Monaker and RealBiz public financial disclosures, and

   which were signed by Defendants Kerby and Friedman during the Class Period, included the

   following material attestations that would provide comfort to the Class that the class members

   were investing based on accurate financial information:

                 a. I have reviewed this Quarterly report;

                 b. Based on my knowledge, this report does not contain any untrue
                    statement of a material fact or omit to state a material fact necessary to
                    make the statements made, in light of the circumstances under which
                    such statements were made, not misleading with respect to the period
                    covered by this report;

                 c. Based on my knowledge, the financial statements, and other financial
                    information included in this report, fairly present in all material respects
                    the financial condition, results of operations and cash flows of the
                    registrant as of, and for, the periods presented in this report;

                 d. The registrant’s other certifying officer(s) and I are responsible for
                    establishing and maintaining disclosure controls and procedures (as
                    defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) for the
                    registrant and have:

                     (i) Designed such internal control over financial reporting, or caused
                         such internal control over financial reporting to be designed under
                         our supervision, to ensure that material information relating to the
                         registrant, including its consolidated subsidiaries, is made known to



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                         us by others within those entities, particularly during the period in
                         which this report is being prepared;

                     (ii) Designed such internal control over financial reporting, or caused
                          such internal control over financial reporting to be designed under
                          our supervision, to provide reasonable assurance regarding the
                          reliability of financial reporting and the preparation of financial
                          statements for external purposes in accordance with generally
                          accepted accounting principles;

                     (iii)Evaluated the effectiveness of the registrant’s disclosure controls
                          and procedures and presented in this report our conclusions about
                          the effectiveness of the disclosure controls and procedures, as of the
                          end of the period covered by this report based on such evaluation;
                          and
                     (iv) Disclosed in this report any change in the registrant’s internal
                          control over financial reporting that occurred during the registrant’s
                          most recent fiscal quarter that has materially affected, or is
                          reasonably likely to materially affect, the registrant’s internal
                          control over financial reporting; and

                  e. The registrant’s other certifying officer(s) and I have disclosed, based
                     on our most recent evaluation of internal control over financial
                     reporting, to the registrant’s auditors and the audit committee of the
                     registrant’s board of directors;

                  f. All significant deficiencies and material weaknesses in the design or
                     operation of internal control over financial reporting which are
                     reasonably likely to adversely affect the registrant’s ability to record,
                     process, summarize and report financial information; and

                  g. Any fraud, whether or not material, that involves management or any
                     other employees who have a significant role in the registrant’s internal
                     control over financial reporting.

          56.     The Section 302 Certification Release requires that every public company's CEO

   and CFO, in this instance Defendants Kerby and Friedman, provide a certification in their

   company's quarterly and annual financial reports. In addition, the Section 302 Certification

   requires a public company to develop and implement internal disclosure controls and procedures

   designed to guarantee that its quarterly and annual reports are accurate and complete.

          57.     The Section 302 Certification can be broken down into three distinct parts: (1)



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   accuracy and fair presentation of the report's disclosure, (2) establishment and maintenance of

   disclosure controls and procedures, and (3) reporting of deficiencies in, and changes to, internal

   accounting controls. The Section 302 Certification is intended to provide the public investors with

   confidence that the financial information included within the public company filings is accurate

   and reliable for the public’s investment decisions.

          58.     Because the reliability of the information included within a 10-K and 10-Q filing is

   so critical to the public who choose to invest in a company, the penalties and liability that result

   from a false Section 302 Certification are severe. A CEO or CFO signing a false Section 302

   Certification potentially could be subject to an SEC enforcement action for violating Section 13(a)

   of the Securities Exchange Act and private actions under Section 10(b) of the Exchange Act and

   Rule 10b-5.

          59.     Under Section 906 Certifications, which were also made by the Defendants Kerby

   and Friedman during the Class Period, any individual who certifies a 906 statement knowing that

   the periodic report accompanying the statement does not comport with all the 906 requirements

   “shall be fined not more than $1,000,000 or imprisoned not more than 10 years, or both." See 18

   U.S.C. § 1350 (c)(1). For any person who "willfully certifies" such a statement "knowing" that it

   does not comply, the penalties are much higher: up to $5 million and/or 20 years. Id. at (c)(2). The

   critical importance of accurately reporting financial information is underscored by the strict

   penalties that accompany the Sarbanes-Oxley and other regulations for public companies.

          60.     Here, Defendants Kerby and Friedman acknowledge that their 302 and 906

   Certifications included materially misleading information to the Monaker investors. The Class

   members were materially misled by Defendant Kerby and Mr. Friedman’s continued assurances




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   that Monaker’s financial statements were accurate, subject to reliable internal controls, and did not

   contain any material untrue statement of fact.

      C. The D&O Defendants knew their financial statements were materially misleading
         when they were publicly disclosed to the Class.

          61.     The D&O Defendants knew at all times that the vast majority of Monaker funds

   were not being used to support Monaker’s operations and to meet the goals and objectives that

   were outlined within the Monaker press releases, SEC filings, and other public statements

   concerning Monaker’s plans to increase and grow its business operations.

          62.      The fact that Monaker failed to publicly disclose the fact that up to $11.1 million

   of Monaker funds were used to support separate company, RealBiz, was not something that the

   D&O Defendants first discovered in June 2016 when they decided to alert the public to the need

   for a restatement of the prior financials.

          63.     In an affidavit signed by Defendant Kerby, Monaker stated that “Monaker and

   RealBiz were affiliates of one another from approximately October 9, 2012 to July, 2015. Prior to

   October 31, 2014, Monaker had a controlling ownership stake in RealBiz. During such times,

   Monaker and RealBiz engaged in numerous intercompany transactions, which, at the time,

   Monaker did not account for under the presumption that what was beneficial for one company was

   beneficial for both companies.” See Exhibit “A” (emphasis added). This damning admission

   shows that Monaker and the D&O Defendants knew all along that they were transferring Monaker

   funds to support RealBiz’s operations without disclosing the same to Monaker investors.

          64.      While Monaker may have had a controlling interest in RealBiz for a period of time,

   the two companies were entirely separate entities with a separate set of investors, separate and

   distinct business plans, separate SEC filings and disclosures, separate audited financials, and

   separate stock agreements with its investors. The Class investors who thought they were investing



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   in Monaker’s travel business were unwittingly financially supporting RealBiz’s real estate

   marketing business.

          65.     Defendant Kerby also admits in his affidavit that “Monaker had potentially lost

   more than 100% of its investment in RealBiz by November, 2013 and had raised over $9 million,

   via the Dual Convertible Preferred Stock, most of which was for the benefit of RealBiz.” Id.

   Monaker was raising money from the Class for its disclosed plans to grow the travel business, but

   Defendant Kerby admits in his affidavit that by November 2013, somewhere close to $9M of Class

   funds were used to support RealBiz’s entirely separate real estate business.    This fact was not

   disclosed to the Class or within Monaker’s SEC filings, Sarbanes-Oxley Certifications, or audited

   financials. Quite simply, there was nothing publicly available that would show the Class that their

   investment funds were primarily being used to support the operations of a company that had

   nothing to do with the travel business plan disclosed by Monaker.

          66.     Defendant Kerby astonishingly acknowledges in his affidavit “there was not an

   expectation of any cash being exchanged between the companies related to the balances in the

   intercompany accounts” (between Monaker and RealBiz). Id. Thus, Defendant Kerby admits that

   Monaker and the D&O Defendants knew at all times that Monaker was transferring its funds when

   RealBiz needed the funds to survive, but Monaker and the D&O Defendants had no intention of

   ensuring that Monaker and its investors received any consideration or value for the fact that the

   investor funds were being used to support an entirely separate company from the one they were

   investing with. Problematically, none of this material information was disclosed by the Defendants

   to the Class during the Class Period.

          67.     Finally, in his affidavit, Defendant Kerby admits that when he was ousted from his

   role as CEO of RealBiz in 2015, the D&O Defendants privately tried to negotiate a deal with the




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   new RealBiz board whereby Monaker would receive $0 in exchange for the up to $11.1 million

   that Monaker previously provided to RealBiz if RealBiz agreed to walk away from the $1.3 million

   in debt owed from Monaker to RealBiz as shown on RealBiz’s financial statements. Id. Thus, the

   D&O Defendants were trying to cut a deal with RealBiz whereby up to $11.1 million in Class

   funds would be extinguished if RealBiz agreed to forego its ability to collect on $1.3 million due

   from Monaker to RealBiz. Such a deal would clearly be to the financial detriment of all Class

   Members who invested their funds with Monaker. Yet, the D&O Defendants unsuccessfully tried

   to negotiate such a deal so that they could hide the fact that up to $11.1 million of the class member

   funds were used to support an entirely separate company as opposed to Monaker. This

   unsuccessful negotiation was never disclosed to the Class in any Monaker SEC filings or other

   public announcement.

          68.     Because the D&O Defendants implemented a secret plan to use Monaker invested

   funds for RealBiz’s operations and benefit, Monaker was never able to financially invest in the

   research and development required to accomplish the selling points that were used to solicit the

   investments from the Class. Consequently, Monaker was never profitable during the Class Period.

   Instead, it sustained around $20M in net losses during the Class Period.

      D. Monaker’s CEO and CFO admit their misdeeds under oath.

          69.     Monaker and RealBiz were engaged in litigation pertaining to the undisclosed

   transfer of funds between the two companies. See RealBiz Media Group, Inc. v. Monaker Group,

   Inc., Case No. 1:16-cv-61017-FAM, pending in the United States District Court Southern District

   of Florida, Fort Lauderdale Division.




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            70.    On or about September 6, 2016, Defendant Kerby was deposed in connection with

   the financial statements issued by Monaker that now are being restated. During his deposition

   under oath, Defendant Kerby testified as follows3:

                   (a) Monaker and RealBiz were separate public companies that did not maintain the

                      same set of investors during the Class Period;

                   (b) He believes it is important to provide accurate financial information to investors

                      and potential investors when raising money;

                   (c) He admits that there was a time period when investors were receiving materially

                      inaccurate financial information when they invested with Monaker;

                   (d) Monaker believes that its prior financial statements were misstated and there is

                      a duty under Sarbanes-Oxley to correct the previous material deficiencies;

                   (e) There was nothing within Monaker’s publicly filed financial statements that

                      would indicate to an investor the fact that Monaker had no intention trying to

                      recover the millions of dollars Monaker was providing to RealBiz without

                      consideration;

                   (f) He now admits that Monaker should have received some form of consideration

                      for the around $10 million that Monaker provided to RealBiz.

                   (g) Although he did not want to issue a restatement of Monaker’s prior financials,

                      Monaker’s new auditors have advised Monaker that a restatement of their

                      previously issued financial statements is necessary because of material

                      misstatements in the past;




   3
       See Case No. 0:016-cv-61017-FAM at DE 42-2.

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              (h) He believes the Auditor Defendants made material accounting mistreatments in

                 connection with their prior audit opinions on Monaker’s financial statements;

              (i) Monaker’s CFO, Mr. Friedman, made the decision that he would treat Monaker

                 and RealBiz as one company, and consequently, Mr. Friedman would move all

                 moneys from one company into the other company and make all payments from

                 the one company, which was Monaker. Defendant Kerby was aware of,

                 approved of, and did not object to, the aforementioned decision on the part of

                 Mr. Friedman;

              (j) He believes that Mr. Friedman made significant accounting errors in connection

                 with Monaker’s accounting for the money transferred to RealBiz when Mr.

                 Friedman served as Monaker’s CFO;

              (k) He admits that the Monaker financial statements were not recorded in a manner

                 that would show investors that Monaker money was being used to support

                 RealBiz’s operations;

              (l) He now admits that Monaker’s financial statements should have been recorded

                 in a manner to show investors that Monaker was using its investor funds to

                 support RealBiz’s operations;

              (m) He did not see a fundamental problem with treating Monaker and RealBiz as if

                 they were one company when moving money from Monaker to support

                 RealBiz;

              (n) He admits that there was a potential conflict of interest that existed with respect

                 to serving as the simultaneous CEO for Monaker and RealBiz, and that this

                 conflict of interest was not explicitly disclosed to the Monaker investors;




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              (o) He acknowledges that the CEO and CFO of a company are responsible for

                 maintaining accurate financial statements;

              (p) He would review the Monaker financial statements that were provided to the

                 Auditor Defendants before they were audited;

              (q) He read and reviewed Monaker’s SEC filings, including its 10-K and 10-Q

                 filings, before signing the Sarbanes Oxley Certifications attesting the accuracy

                 of the information contained therein;

              (r) He has a basic understanding of accounting principles since he has taken

                 securities courses, is a licensed Canadian financial advisor, and is able to

                 understand balance sheets, accounts receivable and accounts payable;

              (s) Besides its CFO, Monaker employed an accountant specializing in SEC

                 accounting, as well as SEC legal counsel;

              (t) Monaker has around 600-800 shareholders;

              (u) Monaker has an $86 million accumulated deficit, and Monaker lost around $20

                 million of investor funds during the Class Period;

              (v) Monaker has spent hundreds of thousands of dollars restating its financial

                 statements, which has further drained Monaker’s financial position;

              (w) Monaker’s head of investor relations during the Class Period had a prior

                 conviction and prison sentence for securities fraud violations stemming from

                 his prior employment. Monaker hired this individual despite knowledge of the

                 prior securities fraud conviction and prison sentence.




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            71.    On or about August 30, 2016, Monaker’s CFO, Mr. Friedman, was deposed in

   connection with the financial statements issued by Monaker that now are being restated. During

   his deposition under oath, Mr. Friedman testified as follows4:

                   (a) He was the CFO and worked alongside a competent SEC accountant hired by

                      Monaker;

                   (b) As CFO, his job was to ensure the public financial data included within the SEC

                      filings was correct;

                   (c) He believes the public needs to rely on the financial data it receives when

                      making a proper investment decision, which is why it is important for a

                      company such as Monaker to issue reliable financial statements to the public;

                   (d) He never disagreed with the Auditor Defendant with respect to the Auditor

                      Defendant’s audit opinions with respect to the Monaker financial statements;

                   (e) When RealBiz needed money for its operations, he would transfer money from

                      Monaker to RealBiz;

                   (f) There was nothing on Monaker’s public financials that would indicate to

                      investors that Monaker was funding RealBiz’s operations and that Monaker had

                      no intention of being reimbursed by RealBiz;

                   (g) He does not believe that an investor could reasonably interpret the Monaker

                      financial statements to indicate the fact that Monaker was providing millions of

                      dollars to RealBiz;




   4
       See Case No. 0:016-cv-61017-FAM at DE 42-1.

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                  (h) He believes there was an obvious conflict of interest with respect to the fact that

                      the D&O Defendants served in the same position for two separate companies,

                      RealBiz and Monaker, given the money transfers between the two companies;

                  (i) Monaker lost about $20 million of its investor funds during the Class Period;

                      and

                  (j) Monaker kept accurate records of the amount of money that Monaker provided

                      to RealBiz, but this was never shown on Monaker’s public financial statements.

          72.     Consequently, the D&O Defendants acknowledge that they knew Monaker’s

   financial statements were not alerting the Class investors to the fact that their investments were

   primarily being used to support a separate company’s operations. Despite this knowledge,

   Monaker, through the D&O Defendants, continued to materially mislead the Class by issuing false

   Certified SEC Filings that failed to alert the investors to this critical and highly material fact that

   would obviously be important with respect to the investment decision to acquire and hold on to

   the Monaker investment. This is clear evidence under oath of scienter.

      E. The Auditor Defendant failed to catch and report the fraud within their publicly filed
         audit opinions.

          73.     At all times, the Auditor Defendant knew that its audit opinions for Monaker would

   be included within Monaker’s public 10-K filings. Therefore, the Auditor Defendant knew that

   Monaker’s investors, including the Class, would be relying on their public audit opinions.

          74.     The Auditor Defendant was in a superior position to catch the fact that the Monaker

   financial statements were materially misstated given the fact that the D&O Defendants hired the

   Auditor Defendant to serve as the auditor for both Monaker and RealBiz. This allowed the Auditor

   Defendant to audit the financial statements for both Monaker and RealBiz, and identify the

   intercompany financial activity that was materially and continuously flowing between the two



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   companies. The Auditor Defendant recklessly disregarded or failed to perform sufficient

   procedures to identify the millions of dollars flowing from Monaker to RealBiz, which were not

   identified on Monaker’s audited financial statements.

          75.    As opposed to catching the secret and substantial monetary transfers from Monaker

   to RealBiz, the Auditor Defendant allowed these transfers to go undetected for years. The Auditor

   Defendant’s negligence is underscored by the fact that the Auditor Defendant reviewed and

   analyzed the Monaker and RealBiz bank statements during the class period, including those

   statements related to the intercompany account.

          76.    The fact that Monaker’s assets continuously hovered around $7 million during the

   Class Period underscores the material nature of the undisclosed fact that Monaker transferred

   around $11 million of its funds to RealBiz during the class period. Yet, the Auditor Defendant

   simply failed to uncover such a material discrepancy when auditing either Monaker or RealBiz.

          77.    Furthermore, the Auditor Defendant was paid its audit fees for RealBiz from

   Monaker, including a $10,000 payment in December 2012, a $5,000 payment in February 2013,

   $5,000 and $9,500 payments in September 2013, a $5,000 payment in November 2013, a $5,000

   payment in December 2013, a $10,000 payment in February 2014, a $5,000 payment in March

   2014, a $5,000 payment in May 2014, a $5,000 payment in December 2014, $10,000 and $14,000

   payments in January 2015, a $10,000 payment in March 2015, and a $5,000 payment in April

   2015, but this was not noted within the audit opinions issued by the Auditor Defendant or the

   public financial statements issued by Monaker.

          78.    A review of publicly filed information in the ongoing litigation between Monaker

   and RealBiz shows highly questionable audit entries that were allowed by the Auditor Defendant

   during the Class Period. One such example includes an $18,195,665.00 audit adjustment entry




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   made by the Auditor Defendant that allowed the balance sheet to balance in furtherance of issuing

   a clean audit opinion. The note simply states, “To record final year end audit adjustment at

   2/28/15.” There is no mention of this odd and significant $18 million audit adjustment within the

   Auditor Defendant’s audit opinion even though the size of this audit adjustment entry dwarfs the

   roughly $7 million in assets shown at the same time on Monaker’s audited balance sheet. Instead,

   the clearly material audit adjustment seems to be a mechanism to back door into a needed number

   required to balance Monaker’s financials without any accounting justification for the same.

          79.     Furthermore, the Auditor Defendant’s audit work-papers that pertained to the

   multi-million dollar intercompany activities totaled a handful of pages, thereby underscoring the

   utter lack of audit testing and audit analysis to determine whether the intercompany accounts were

   being accounted for properly. These audit work-papers make it clear that the primary piece of

   audit evidence used by the Auditor Defendant to confirm the intercompany balances consisted of

   the audit confirmation letters that were simultaneously signed by the same person for Monaker

   and RealBiz, thereby making the audit confirmation letter subject to easy fraud.

          80.     In conducting an audit, an auditor must obtain sufficiently competent evidential

   matter through inspection, observation, inquiries and confirmations to afford a reasonable basis

   for an opinion regarding the financial statements under audit. AU § 326.01. As part of its audit

   procedures, the Auditor Defendant relied overwhelmingly on audit confirmation letters signed by

   the D&O Defendants, which supported the fraudulent numbers that were ultimately included in

   Monaker’s materially misstated financial statements. An auditor is not entitled to rely solely upon

   audit confirmation letters when performing its audit procedures, and the audit confirmations

   pertaining to RealBiz and Monaker were particularly receptive to fraud given the fact that the same

   CEO (Defendant Kerby) and CFO (Friedman) were signing the letters on behalf of each company.




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          81.     The Auditor Defendants breached their obligation to exercise professional

   skepticism pursuant to SAS No. 99. SAS Numbers 99 and 31 demand that auditors recognize that

   fraud may exist in every audit, and an auditor shall not rely solely upon a company’s internal audit

   confirmation letter when evidence can be obtained from independent sources outside an entity.

          82.     Further, SAS 45 clearly acknowledges that possibility that a related-party

   relationship, such as the one that existed between Monaker and RealBiz, may be a tool for fraud

   by management. SAS 6 was issued primarily for auditors in response to fraud cases in which

   management’s involvement in material transactions was obscured by either inadequate disclosure

   or outright concealment. The auditing standards require that an auditor should view related-party

   transactions within the framework of existing pronouncements, placing primary emphasis on the

   adequacy of disclosure.

          83.     According to AU 334.09, procedures that should be considered by an auditor when

   auditing related party transactions are:

                  (i) Obtaining an understanding of the transaction’s business purpose;

                  (ii) Examining invoices, executed copies of agreements, contracts, and other

                      pertinent documents, such as receiving reports and shipping documents.

                  (iii) Determining whether the transaction has been approved by the board of

                      directors or other appropriate officials.

                  (v) Testing for reasonableness the compilation of amounts to be disclosed or

                      considered for disclosure.

                  (vi) Inspecting or confirming and obtaining satisfaction that collateral is

                      transferable and appropriately valued.




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                  (vii)   For inter-company account balances (a) Arranging for examination at

                      concurrent dates, even if fiscal years differ (b) Arranging for examination of

                      specified, important, and representative related party transactions by auditors

                      for each of the parties with an exchange of relevant information.

          84.     When auditing the Monaker financial statements, the Auditor Defendant breached

   the professional standards and duties outlined herein.

          85.     By failing to identify the fact that Monaker’s financial statements included

   fraudulent amounts that did not account for millions of dollars of Monaker funds being used to

   support RealBiz, the Auditor Defendant assisted the Director Defendant’s concealment of the true

   financial condition of Monaker. The Auditor Defendant knew that the purpose of Monaker’s SEC

   filings was to benefit and guide Monaker investors with their investment decision.

          86.     The Auditor Defendants obtained significant audit and audit related fees from

   Monaker and RealBiz during the class period. The Auditor Defendants knew that an adverse audit

   opinion with respect to Monaker would also require an adverse audit opinion with respect to

   RealBiz. Thus, the Auditor Defendant would almost certainly lose a client other than simply

   Monaker if an adverse opinion was issued with respect to Monaker’s financial statements. This

   suggests that the Auditor Defendant violated GAAS General Standard No. 2, which requires that

   independence in mental attitude must be maintained by the auditor in all matters related to the

   assignment. AU § 220.01.

          87.     The Auditor Defendants knew that its Monaker audits were included in Monaker’s

   public financial disclosures that were circulated to the Plaintiff and Class Members. The Auditor

   Defendants knew that the Plaintiff and Class Members would justifiably rely upon their clean audit

   opinions issued with respect to Monaker.




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            88.   Finally, the Auditor Defendants have been sanctioned by the SEC for another audit

   that was being performed around the same time as the audits for Monaker and RealBiz. In or about

   September 2016, the Auditor Defendant entered into a consent agreement with the SEC in the

   Administrative Proceeding, File No. 3-17605 In the Matter of D’Arelli Pruzansky, P.A. The SEC

   issued an Order instituting Cease and Desist Proceedings Pursuant to Section 21C of the Securities

   Exchange Act of 1934, Making Findings, and Imposing a Cease and Desist Order. In the SEC

   Sanctions Order, the SEC found that the Auditor Defendant violated Section 10 of the Exchange

   Act, which makes it unlawful for an auditor not to be independent with respect to, among other

   requirements, the partner rotation requirements. The Auditor Defendant was ordered to pay a civil

   penalty of $50,000 to the SEC.

        F. The Truth begins to be revealed to the Class Members.

            89.   Up until June 2016, Monaker kept the fact that it was funding RealBiz to the tune

   of up to $10.1 million a total secret to the public and the Class.

            90.   The Defendants’ secret with respect to the true state of Monaker’s financial

   statements started to unravel when RealBiz informed Monaker via an April 29, 2016, litigation

   hold letter that RealBiz demanded payment for the approximately $1.3 million amount due from

   Monaker to RealBiz, as depicted on the current financial statements for the companies.5

            91.   In response, on May 2, 2016, the D&O Defendants sent a letter to RealBiz and the

   Auditor Defendant stating:

                  Through various discussions with our legal counsel and accountants,
                  we have become aware of the fact that the prior audit confirmation
                  letter dated February 9, 2016 to RealBiz Media Group, Inc. (the
                  “Letter”) contained an error. Specifically, while the prior Letter
                  stated that Monaker Group, Inc. owed RealBiz Media Group, Inc.
                  $1,287,517 as of October 31, 2015, in actuality RealBiz Media


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       See Case No. 0:16-cv-61017-FAM DE 35-10.

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                        Group, Inc. owes Monaker Group in excess of $5.8 million as of
                        October 31, 2015. Please update your records accordingly.6

              92.       As evidenced by the D&O Defendants’ testimony cited herein, the D&O

   Defendants knew Monaker was owed millions of dollars from RealBiz for many years before

   sending this initial letter in early May 2016. Nevertheless, Monaker continued to keep this material

   disclosure private, and this significant disclosure was not immediately disclosed to the Class via

   an SEC filing.

              93.       It wasn’t until Monaker’s 10-K filed on June 23, 2016 that Monaker disclosed that

   it would be using a new auditor, LBB & Associates Ltd., LLP, to issue restatements with respect

   to Monaker’s previous financial statements that were audited by the Auditor Defendant. Despite

   the D&O Defendant’s ongoing knowledge that Monaker was secretly funding RealBiz for years,

   this 10-K filing on June 23, 2016, was the first indication that the Class could glean that their

   investment decisions were materially hindered to their great detriment based on fraudulent and

   materially misleading financial statements.

              94.       Also important, unlike the D&O Defendant’s private letter to RealBiz and the

   Auditor Defendant saying Monaker was owed “in excess of $5.8 million” from RealBiz,

   Monaker’s 10-K filed nearly two months later stated Monaker was owed up to $11.1 million from

   RealBiz. Less than one month later, on July 15, 2016, Defendant Kerby filed a public affidavit

   saying Monaker was owed approximately $9.9 million from RealBiz.7

              95.       The Class was completely left in the dark regarding the D&O Defendant’s

   intentional usage of Monaker as RealBiz’s personal piggy bank during the Class Period. Instead

   of investing the Class Member’s invested funds to grow Monaker pursuant to the plans outlined in



   6
       Id. at DE 35-9.
   7
       Id. at DE 23-1


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   Monaker’s SEC filings, press releases, and other public disclosures, Monaker and the D&O

   Defendants used their funds to financially support a flailing, entirely separate company with a

   separate and distinct set of shareholders.

          96.     The Monaker stock fluctuated rapidly during the Class Period and ultimately lost

   about $20M in Class Member funds, including a 30% drop in the stock price after the financial

   restatement and basis for the same was publicly reported.

      G. Additional Scienter Allegations.

          97.     The D&O Defendants knew and/or recklessly disregarded the falsity and

   misleading nature of the information that they caused to be disseminated to the investing public.

   The ongoing fraudulent scheme described herein could not have been perpetrated over a substantial

   period of time without the knowledge and complicity of the personnel at the highest level of

   Monaker, including the D&O Defendants. The D&O Defendants were motivated to materially

   misrepresent the true nature of Monaker’s financials because it allowed these same individuals to

   try to prop up the share price of their other company, RealBiz, as opposed to allowing RealBiz to

   flounder into a total loss. At the same time, by materially misrepresenting Monaker’s financial

   condition to the public, the D&O Defendants could continue to raise money and attempt to increase

   the Monaker share price based on dreams that were being unfulfilled based on the secret capital

   drain towards RealBiz’s operations. The D&O Defendants hoped to keep the share prices of both

   of their companies, Monaker and RealBiz, artificially high, which was particularly enticing to the

   D&O Defendants since they were significant shareholders in each company.

      H. Loss Causation/Economic Loss.




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             98.    During the Class Period, as detailed herein, the D&O Defendants engaged in a

   scheme to deceive the market and a course of conduct that artificially impacted Monaker’s stock

   price in a manner that operated as a fraud or deceit on acquirers of Monaker’s stock.

             99.    Once Monaker disclosed on June 23, 2016 that its previous financial statements

   would need to be restated as a result of the unreported and historic financial support provided by

   Monaker to RealBiz, Monaker’s share price drastically declined from $2.90 per share on the date

   preceding the disclosure to $2.60 per share on the date following the disclosure, a nearly 11% drop.

   By June 29, 2016, Monaker shares closed at $2.20 per share, a nearly 24% drop. By July 7, 2017,

   Monaker shares closed at $2.00 per share, a nearly 31% drop. Within two weeks of the disclosure,

   the stock was trading at as little as $1.71 per share, an approximate 41% drop.

             100.   The disclosure also caused a remarkable uptick in the trading level of the Monaker

   stock as part of the selloff. Specifically, on July 12 and July 15, 2016, tens of thousands of Monaker

   shares were traded in comparison to the mere few thousand shares of Monaker that were normally

   traded.

             101.   During the eighteen months since the disclosure, Monaker’s stock has floundered

   with slight bumps in recovery after Monaker announces allegedly promising news, although the

   stock has primarily traded significantly below the pre-disclosure share price and currently trades

   at about 30% less than the share price prior to the disclosure.

             102.   On or about February 12, 2018, in an effort to prop up its stock price to try to get

   listed on NASDAQ, Monaker conducted a reverse stock split, whereby every 2.5 shares of issued

   and outstanding stock were exchanged for one share of common stock.8 After the reverse stock

   split effectuated in February 2018, the share price proportionally increased to around $4.90 per


   8
    https://globenewswire.com/news-release/2018/02/12/1339049/0/en/Monaker-Prepares-for-NASDAQ-Uplisting-
   Approves-Stock-Split.html


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   share, but the shareholders held 250% less shares. The $4.90 stock price equates to a less than

   $2.00 per share price under the shares held by the shareholders prior to the 2.5 per share reverse

   stock split. Consequently, class members’ ownership interest in Monaker remains worth about

   30% less than the value per share before the financial restatement was publicly disclosed.

          103.    Within weeks of the financial restatement disclosure, the Plaintiffs and other

   investors had lost approximately 41% of the value of their shares in Monaker. These same

   investors hold a stock today that is worth approximately 30% less than before the public was put

   on notice that Monaker’s previous financial statements were materially misleading.

          104.    The timing and magnitude of the stock price decline negates any inference that the

   loss suffered by the Plaintiffs and the other members of the Class was caused by changed market

   conditions, macroeconomic or industry factors or company-specific facts unrelated to the

   fraudulent conduct. The economic loss, i.e., damages, suffered by the Plaintiffs and the other Class

   members was a direct result of the disclosure concerning the fraudulent scheme to use Monaker

   investor funds to support an entirely separate company without consideration for the same.

   Monaker’s stock suffered a significant decline in value when the prior misrepresentations and other

   fraudulent conduct was revealed.

          105.    Furthermore, the significant drop in Monaker’s stock price after the financial

   restatement disclosure is magnified by the fact that the D&O Defendants own a majority of the

   outstanding shares in Monaker, and upon information and belief, the D&O Defendants were not

   selling their shares in the company after the financial restatement was disclosed. Therefore, the

   massive drop in stoke price and uptick in stock sales was being driven by the minority

   shareholders, who are not the D&O Defendants.




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          106.    As admitted by Defendant Kerby under oath, the vast majority of the Class funds

   were not used to support Monaker in any fashion. Without utilizing Monaker’s invested capital,

   it was virtually impossible for Monaker to meaningfully succeed with any of the projected goals

   and objectives required for Monaker to become a profitable company and sought-after stock that

   would actually increase in value. Common sense leads to the conclusion that Monaker’s supposed

   plans to become a significant travel industry business was thwarted by the fact that Monaker’s

   invested capital was not used to grow Monaker’s business plans. Instead, Monaker’s invested

   capital was used to try to grow and prop up a real estate business (RealBiz) that was never disclosed

   as Monaker’s plan in any public filings or information. The economic loss, i.e. damages, suffered

   by Plaintiffs and the other Class members was a direct result of the fraudulent scheme to solicit

   their invested funds for an entirely separate company. No rational investor, such as the Plaintiff,

   would invest their hard-earned money in a company that was not using the invested capital to

   support the company’s intended and publicly stated purpose.

          107.    At all material times, Defendants’ materially false and misleading statements or

   omissions alleged herein directly or proximately caused the damages suffered by the Plaintiff and

   other Class members. Those statements were materially false and misleading because they failed

   to disclose the true and accurate picture of Monaker’s financial statements, as well as the fact that

   Monaker did not intend to use the invested funds to benefit Monaker’s operations. Throughout the

   Class Period, the Defendants publicly issued materially false and misleading statements and

   omitted material facts necessary to make Defendants’ statements not false or misleading. Plaintiff

   and other Class members purchased Monaker stock based on materially false and misleading

   information causing them to suffer the damages complained of herein.




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          108.    While Monaker’s business model was thwarted when a material component of the

   investor funds were being used to support an entirely separate company, thereby decreasing the

   potential growth of Monaker and its share price, it also must be acknowledged that Monaker’s

   share price, post-financial restatement disclosure, is likely tainted given the fact that Monaker has

   now informed the public about its material historic financial misreporting by the same management

   team that remains in place today. Monaker’s reputational damage caused by the financial

   restatement disclosure will likely hinder the ability for the Monaker share price to grow in the

   future, which inhibits the Plaintiffs’ and Class Members’ ability to mitigate their damages from

   the significant drop in the share price.

          109.    The statutory safe harbor under the Private Securities Litigation Reform Act of

   1995 does not apply to any of the allegedly false and misleading statements pled in this Complaint.

   The statements that Monaker and the D&O Defendants now admit under oath to be materially

   misleading and false all related to then-existing facts and conditions. Additionally, to the extent

   certain of the statements alleged to be false may be characterized as forward-looking, they were

   not adequately identified as “forward-looking statements” when made, and there were no

   cautionary statements identifying important factors that could cause actual results to differ

   materially from those in the purportedly forward-looking statements. Alternatively, Defendants

   are liable for any purported forward-looking statements because at the time of any forward-looking

   statement, the particular speaker had actual knowledge that any particular forward-looking

   statement was materially false or misleading, given the fact that Defendant Kerby admits Monaker

   had no intention to seek repayment of the Class-invested funds being secretly transferred to

   RealBiz.




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                                        COUNT I
                            (Against Monaker D&O Defendants)
                   VIOLATIONS OF SECTION 15 OF THE SECURITIES ACT

          110.    Plaintiffs repeat and re-allege paragraphs 1-109.

          111.    This Count is asserted against Monaker and the D&O Defendants for violations of

   Section 15, 15 U.S.C. § 77o, of the Securities Act on behalf of all members of the Class who

   purchased or otherwise acquired Monaker stock during the Class Period.

          112.    At all relevant times, the D&O Defendants were controlling persons of Monaker

   within the meaning of the Securities Act. The D&O Defendants at all relevant times participated

   in the operation and management of Monaker, and conducted and participated, directly and

   indirectly, in the conduct of Monaker’s business affairs. As officers and directors of a publicly-

   owned company, the D&O Defendants each had a duty to disseminate accurate and truthful

   information with respect to Monaker’s financial condition and results of operations.

          113.    Monaker and the D&O Defendants recklessly or intentionally failed to disclose and

   disseminate accurate and truthful information with respect to Monaker’s financial condition and

   results of operations.

          114.    Plaintiffs and other members of the Class who acquired Monaker securities did not

   know of the misrepresentations alleged herein or the of the facts concerning the untrue statements

   of material fact and omissions alleged herein, and could not have reasonably discovered such facts

   or conduct.

          115.    Plaintiffs and the other members of the Class have sustained damages, as outlined

   within the Complaint.




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          116.    By reason of the foregoing, the Defendants named in this Count are liable under

   the Securities Act to Plaintiffs and the other members of the Class who acquired Monaker stock

   during the Class Period.

                                        COUNT II
                           (Against Monaker and D&O Defendants)
                      VIOLATIONS OF SECTION 10(b) AND RULE 10-b-5
                                 OF THE EXCHANGE ACT

          117.    Plaintiffs repeat and re-allege paragraphs 1-109.

          118.    This Count is asserted against the D&O Defendants for violations of Section 10(b)

   of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

          119.    Pursuant to the above plan, scheme and course of conduct, Monaker and each of

   the D&O Defendants participated directly or indirectly in the preparation and/or issuance of the

   quarterly and annual reports, SEC filings, press releases and other statements and documents

   described above, including statements made to the public that were designed to influence the

   market for Monaker’s securities. Such reports, filings, releases and statements were materially

   false and misleading in that they failed to disclose material adverse information and misrepresented

   the truth about Monaker’s finances, business plans, and prospects.

          120.    By virtue of their positions at Monaker, the D&O Defendants had actual knowledge

   of the materially false and misleading statements and material omissions alleged herein and

   intended thereby to deceive Plaintiffs and the other members of the Class, or, in the alternative,

   the D&O Defendants acted with reckless disregard for the truth in that they failed or refused to

   ascertain and disclose such facts as would reveal the materially false and misleading nature of the

   statements made, although such facts were readily available to these Defendants. Said acts and

   omissions of D&O Defendants were committed willfully or with reckless disregard for the truth.




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   Each D&O Defendant knew or recklessly disregarded that material facts were being

   misrepresented or omitted as described above.

           121.    Information showing the D&O Defendants acted knowingly or with reckless

   disregard for the truth was at all times within these defendants’ knowledge and control. As the

   senior managers and directors of Monaker, the D&O Defendants each had knowledge of the details

   of Monaker’s internal affairs.

           122.    The D&O Defendants are liable both directly and indirectly for the wrongs alleged

   herein. Because of their positions and control and authority, the D&O Defendants were able to

   and did, directly and indirectly, control the content of the statements of Monaker. As officers and

   directors of a publicly held company, the D&O Defendants had a duty to disseminate timely,

   accurate, and truthful information with respect to Monaker’s businesses, operations future

   financial condition and future prospects. As a result of the dissemination of the aforementioned

   false and misleading reports, releases and public statements, the market price of Monaker’s

   securities was artificially inflated throughout the Class Period. Ignorant of the adverse facts

   concerning Monaker’s financial condition and true business plans that were concealed by

   Defendants, Plaintiff and the other members of the Class purchased or otherwise acquired Monaker

   securities at artificially inflated prices and relied upon the price of the securities, the integrity of

   the market for the securities and/or upon statements disseminated by these defendants, and were

   damaged as a result of same.

           123.    During the Class Period, Monaker’s securities were traded on an active and efficient

   market. Plaintiff and the other members of the Class, relying on the materially false and misleading

   statements addressed herein, which these defendants issued or caused to be disseminated, or

   relying on the integrity of the market, purchased or acquired shares of Monaker’s securities at




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   prices artificially inflated by these defendants’ wrongful conduct. Had the Plaintiff or other

   members of the Class known the truth, they would not have purchased or otherwise acquired the

   Monaker securities, or would not have purchased or otherwise acquired them at the inflated prices

   that were paid. At the time of acquiring or purchasing Monaker stock, the true value of the

   Monaker securities was substantially lower than the prices paid by Plaintiff and the Class members.

          124.    Consequently, the D&O Defendants knowingly or recklessly, directly or indirectly,

   violated Section 10(b) of the Exchange Act and SEC Rule 10b-5 by: (1) employing devices,

   schemes and artifices to defraud, (2) failing disclose material information, or (3) engaging in acts

   and a course of business that operated as a fraud and deceit upon Plaintiff and the other members

   of the Class during the Class Period.

          125.    As a direct and proximate result of the D&O Defendants’ wrongful conduct,

   Plaintiffs and the Class members suffered damages in connection with their respective purchases,

   acquisitions, and sales of Monaker securities during the Class Period.

                                     COUNT III
                              (Against D&O Defendants)
                 VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT

          126.        Plaintiffs repeat and re-allege paragraphs 1-109.

          127.        During the Class Period, the D&O Defendants participated in the operation and

   management Monaker, and conducted and participated, directly and indirectly, in the conduct of

   the Company’s business affairs. Because of their senior positions, they knew the adverse, non-

   public information about the Company’s misstatement of income and expenses and false financial

   statements.

          128.    As officers and/or directors of a publicly owned company, the D&O Defendants

   had a duty to disseminate accurate and truthful information with respect to Monaker’s financial




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   condition and results of operations, and to correct promptly any public statements issued by the

   Company which had become materially false or misleading.

          129.    Because of their positions of control and authority as senior officers, D&O

   Defendants were able to, and did, control the contents of the various reports, press releases and

   public filings which Monaker disseminated in the marketplace during the Class Period concerning

   the Company’s results of operations. Throughout the Class Period, the D&O Defendants exercised

   their power and authority to cause the Company to engage in the wrongful acts complained of

   herein. Therefore, the D&O Defendants were “controlling persons” of Monaker within the

   meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful

   conduct alleged which artificially inflated the market price of the Monaker securities.

          130.        The D&O Defendants are liable pursuant to Section 20(a) of the Exchange Act

   for these violations committed by Monaker.

                                     COUNT IV
                             (Against Auditor Defendant)
                 VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT

          131.    Plaintiffs repeat and re-allege paragraphs 1-109.

          132.    This Count is asserted against the Auditor Defendant for violations of Section 10(b)

   of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

          133.    Pursuant to the above plan, scheme and course of conduct, the Auditor Defendant

   participated directly or indirectly in the preparation and/or issuance of the quarterly and annual

   financial reports, SEC filings, including multiple clean audit opinions for Monaker that were made

   to the public and were designed to influence the market for Monaker’s securities. The Auditor

   Defendant’s Monaker audit opinions were materially false and misleading in that they failed to

   disclose materially adverse information and misrepresented the truth about Monaker’s finances.




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          134.    The Auditor Defendant acted with reckless disregard for the truth in that they failed

   to ascertain and disclose such facts as would reveal the materially false and misleading nature of

   the financial statements made by Monaker, although such facts were readily available to these

   Defendants. This is especially true given the fact that the Auditor Defendant audited the financial

   statements of both Monaker and RealBiz during the Class Period and was in an overwhelmingly

   superior position to identify the fraud on the part of Monaker and the D&O Defendants. Said acts

   and omissions of the Auditor Defendant were committed with reckless disregard for the truth. As

   the longtime auditor for Monaker, the Auditor Defendant had in depth knowledge of the details of

   Monaker’s internal and financial affairs, including the relationship involving the intercompany

   account between Monaker and RealBiz that was kept secret to the Plaintiff and Class.

          135.    The Auditor Defendant was able to and did, directly and indirectly, control the

   content of its audit opinions for Monaker. The Auditor Defendant had a duty to disseminate

   accurate and truthful information with respect to Monaker’s financial condition. As a result of the

   dissemination of the aforementioned false and misleading audit opinions, the market price of

   Monaker’s securities was artificially inflated throughout the Class Period. Ignorant of the adverse

   facts concerning Monaker’s financial condition and true business plans that were concealed by

   Defendants, Plaintiffs and the other members of the Class purchased or otherwise acquired

   Monaker securities at artificially inflated prices and relied upon the price of the securities, the

   integrity of the market for the securities and/or upon statements that the Auditor Defendant knew

   was being publicly disseminated, and were damaged as a result of same.

          136.    Consequently, the Auditor Defendant recklessly, directly or indirectly, violated

   Section 10(b) of the Exchange Act and SEC Rule 10b-5 by failing to disclose material information

   to Plaintiff and the other members of the Class during the Class Period.




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          137.    As a direct and proximate result of Auditor Defendant’s reckless conduct, Plaintiffs

   and the Class members suffered damages in connection with their respective purchases,

   acquisitions, and sales of Monaker securities during the Class Period.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, on their own behalf and on behalf of the Class, pray for

   judgment as follows:

                  (a) Determining this action to be a proper class action and certifying Plaintiffs as

          class representatives under Rule 23 of the Federal Rules of Civil Procedure;

                  (b) Awarding compensatory damages in favor of Plaintiffs and the other members

          of the Class against all Defendants, jointly and severally, for the damages sustained as a

          result of the wrongdoings of Defendants, together with interest thereon;

                  (c) Awarding Plaintiffs the attorneys’ fees and expenses incurred in this action,

          including an allowance of reasonable fees for Plaintiffs’ attorneys and experts;

                  (d) Granting extraordinary equitable and/or injunctive relief as permitted by law,

          equity and federal and state statutory provisions sued on hereunder;

                  (e) Awarding rescission damages as to claims under the Securities Act; and

                  (f) Granting such other and further relief as the Court may deem just and proper.

                  (g) other and further relief as the Court may deem just and proper.

                                           TRIAL BY JURY

          Plaintiffs demand a trial by jury on all counts so triable.




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                                                        Respectfully submitted,

                                                        /s/ John G. Crabtree
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 22, 2018, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF.

                                                        /s/ John G. Crabtree      .
                                                        John G. Crabtree




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